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  Exhibit I
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                    DECLARATION OF RYAN BRUNSINK
          MANAGING ATTORNEY OF REMOVAL DEFENSE PROGRAMS
         FOR PENNSYLVANIA IMMIGRATION RESOURCE CENTER (PIRC)


I, Ryan Brunsink, make the following statements on behalf of Pennsylvania Immigration Resource
Center (“PIRC”). I certify under penalty of perjury that the following statement is true and correct
pursuant to 28 U.S.C. § 1746.

  1. My name is Ryan Brunsink, and I am the Managing Attorney for Removal Defense Programs
     at PIRC. PIRC’s office is in York, Pennsylvania. PIRC provides free legal educational
     information and representation on immigration matters to noncitizens across the
     commonwealth of Pennsylvania. PIRC is part of the Pennsylvania Immigrant Family Unity
     Project (“PAIFUP”), which is the primary group of organizations dedicated to providing
     legal services to indigent immigrant adults detained by Immigration and Customs
     Enforcement (“ICE”) at the Moshannon Valley Processing Center (“Moshannon Valley”).
  2. PIRC operates Removal Defense Programs with several main components: (1) the Legal
     Orientation Program (“LOP”), providing educational and pro se services in the form of legal
     education “know your rights” (“KYR”) presentations, conducting individual consultations
     (intakes), and providing pro se assistance to unrepresented detained noncitizens in the
     custody of ICE at facilities located in Pennsylvania; (2) connecting unrepresented detained
     noncitizens who cannot afford a lawyer with pro bono attorneys for cases at both the trial
     and appellate court levels; and (3) providing in-house representation for indigent individuals
     who qualify under separate programming and funding.
  3. PIRC is the sole provider of LOP services in the Commonwealth. For years, LOP funding
      enabled PIRC staff to travel regularly to Moshannon Valley to provide legal education KYR
      presentations, individual consultations, and pro se workshops to noncitizens who are
      detained and do not have counsel. PIRC’s LOP team sent two to four staff members to
      provide services at Moshannon Valley twice monthly, most often on Thursdays and Fridays
      on consecutive days. Additionally, PIRC provided similar services remotely in between in
      person visits and responded to inquiries from detainees each day through the pro bono
      telephone platform and through messaging on electronic tablets available to some detainees.

  4. LOP services at Moshannon Valley are critical because of both the size and remote location
     of the facility. Moshannon Valley is one of the largest ICE facilities in the country.
     Moshannon has a total potential capacity of roughly 1,900. It serves as a regional hub for
     ICE detention. Many states surrounding Pennsylvania have legislated ICE detention out of
     their states, so Moshannon Valley receives many individuals from all over the northeast and
     mid-Atlantic regions of the U.S. Located in Clearfield County, Pennsylvania, the facility is
     very remote and few private immigration practitioners ever visit in person.
  5. In the past year, PIRC has provided LOP at Moshannon Valley to 1397 people.
  6. PIRC has also served as the primary referral mechanism for pro bono placement at
     Moshannon Valley. Through the LOP services, PIRC identified individuals who qualify for
     additional services, such as in-house PIRC representation under separate funding or referral
     to other nonprofit legal service organizations based on residence prior to detention. While
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      our LOP packets do not include information on filing habeas petitions, we do make referrals
      for habeas representation whenever possible.
  7. PIRC’s LOP program is no longer in effect. Without warning, on January 22, 2025, the
     Department of Justice issued a national contract stop work order which paused funding for
     PIRC’s LOP program. While the stop work order was subsequently rescinded after litigation, a
     second stop work order was issued on April 10, 2025, and became effective April 15, 2025.
  8. Even if PIRC’s LOP were to resume, it would be very challenging for individuals detained
     at Moshannon Valley to consult with an attorney quickly to file a habeas petition. PIRC’s
     LOP program is at Moshannon Valley twice a month, and while PIRC responds to
     requests for information and assistance in between as best we can, we are not normally
     able to respond to all questions, let alone within 12 hours of receiving them. It normally
     takes PIRC up to a week to consult with individuals who reach out via our phone number.
  9. Other practical considerations make it difficult for individuals detained at Moshannon to
     promptly consult with an attorney. Legal calls can take days, or sometimes weeks, to set
     up as there are limited slots available per housing unit. It is also not possible to arrange
     for legal calls on the weekend.
  10. Pro se people face additional challenges. Detained individuals normally only have access to
      the law library once a week for a few hours at most. In PIRC’s experience, in a best-case
      scenario, it normally takes a person several visits to the law library – meaning several weeks
      – to pull together something to file. This means filing a habeas within 14 days as a pro se
      person would be impossible.
  11. Moreover, pro se individuals have no way to file electronically, so they would have to mail
      the habeas petition, which often causes additional delay.
  12. There are also language access considerations. When we would do LOP, we heard from
      detained individuals about language access issues they faced daily—from not being able to
      talk with staff, to not understanding what documents they received in English from ICE, to
      no interpretation offered—that are all common language access issues at Moshannon.


I declare under penalty of perjury that the foregoing is true and correct.


Executed on the 29th of April 2025, in Lancaster, Pennsylvania.




Ryan Brunsink
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Pennsylvania Immigration Resource Center (PIRC)
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